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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 21-62414-CIV-SINGHAL


 BEATA MARCINKOWSKA,

         Plaintiff,

 v.

 RESURGENT CAPITAL SERVICES, L.P.,

      Defendant.
 __________________________________________/

                       ORDER REQUIRING SCHEDULING REPORT
                      AND CERTIFICATES OF INTERESTED PARTIES1

         THIS CAUSE is before the Court on a sua sponte review of the record. Within

 twenty-one (21) days of an appearance by a Defendant in this case, the parties are

 directed to prepare and file a joint scheduling report, as required by Local Rule 16.1. The

 joint scheduling report and proposed order shall include all information required by Local

 Rule 16.1(b)(2) and (3). In addition, at the time of filing the joint scheduling report, the

 parties, including governmental parties, must file certificates of interested parties and

 corporate disclosure statements that contain a complete list of persons, associated

 persons, firms, partnerships, or corporations that have a financial interest in the outcome

 of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and

 other identifiable legal entities related to a party (to the extent they have not already done

 so). Throughout the pendency of the action, the parties are under a continuing obligation

 to amend, correct, and update the certificates.


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  The parties must not include Judge Singhal and the assigned U.S. Magistrate Judge as interested parties
 unless they have an interest in the litigation.
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        Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated

 case management system based on the complexity of each case and the requirement for

 judicial involvement. That system categorizes cases along three case management

 tracks: expedited, standard, or complex.

        •   Expedited track cases are relatively non-complex, require 1 to 3 days
            of trial, and between 90 and 179 days for discovery from the date of the
            scheduling order.

        •   Standard track cases require 3 to 10 days of trial, and between 180
            and 269 days for discovery from the date of the scheduling order.

        •   Complex track cases are unusually complex, require over 10 days of
            trial, and between 270 and 365 days for discovery from the date of the
            scheduling order.

        “The following factors [are] considered in evaluating and assigning cases to a

 particular track: the complexity of the case, number of parties, number of expert

 witnesses, volume of evidence, problems locating or preserving evidence, time estimated

 by the parties for discovery and time reasonably required for trial, among other factors.”

 S.D. Fla. L.R. 16.1(a)(3).

        Federal Rule of Civil Procedure 26(b)(1) allows discovery regarding any

 nonprivileged matter that is relevant to any party’s claim or defense and proportional to

 the needs of the case, considering the importance of the issues at stake in the action, the

 amount in controversy, the parties’ relative access to relevant information, the parties’

 resources, the importance of the discovery in resolving the issues, and whether the

 burden or expense of the proposed discovery outweighs its likely benefit. The parties

 shall participate in good faith in developing a detailed discovery plan, including any

 agreed-upon limitation on scope, frequency and the extent of discovery. The parties shall

 include in their scheduling report any unique discovery matters, including any



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 electronically stored information that should be preserved and accessed. The parties

 shall establish a detailed schedule for the preservation, disclosure and access of each

 different type or category of electronically stored information.

        Consistent with the differentiated case management system, other relevant local

 rules (such as Local Rule 16.2, regarding mediation), and the twin goals of expeditious

 and attentive case management, the Court anticipates the following scheduling deadlines

 in the run of cases:

        •   Selection of a mediator and scheduling of a time, date and place for mediation
            within 30 days of the scheduling order.

        •   Deadline to amend pleadings and join parties within 60 days of the scheduling
            order.

        •   Completion of all discovery consistent with the case management track
            guidelines, and 120 days prior to trial.

        •   Completion of mediation prior to the deadline for dispositive pre-trial motions.

        •   Deadline for dispositive pre-trial motions and Daubert motions (which include
            motions to strike experts) 100 days prior to trial.

        •   Deadline for submission of joint pre-trial stipulation, proposed jury instructions
            and verdict form, or proposed findings of fact and conclusions of law, as
            applicable, 10 days prior to trial.

 Those deadlines are not exhaustive of deadlines that may be set in the scheduling order.

        The parties should address their joint scheduling report and their proposed pre-

 trial deadlines both to the differentiated case management system and to the Court’s

 anticipated deadlines. The parties are encouraged to explain their proposed deadlines in

 light of those overarching guidelines, including as to the factors listed in Local Rule

 16.1(a)(3). The parties are cautioned that if they fail to submit a joint scheduling

 report by the applicable deadline, the Court may unilaterally set this case on a case




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 management track in accordance with Local Rule 16.1(a) and calculated as if the

 scheduling report had been timely filed.

        The parties are advised that the failure to comply with any of the procedures

 contained in this Order or the Local Rules may result in the imposition of appropriate

 sanctions, including, but not limited to, the dismissal of this action or entry of default.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 2nd day of

 December 2021.




 Copies furnished to counsel of record via CM/ECF




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